Case 15-12570 Doc 79 Filed 04/13/18 Entered 04/13/18 12:55:53 Main Document Page 1 of 3



                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA


  In re:                                           Case No. 15-12570


  Candida Shushan                                  Section A

  Sidney Shushan

                                                   Chapter 7

  Debtor(s)


      ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL
         REAL ESTATE SERVICES AND GREAT OAKS REALTY TO PROCURE
        CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

                  Upon the Notice and Application of William Babin, the trustee in the above-

   captioned case (“Trustee”), to Retain BK Global Real Estate Services and GREAT OAKS REALTY

   to Procure Consented Public Sale pursuant to 11 U.S.C. § § 327, 328 and 330

   (“Application”)[Docket No. 75], the Court having reviewed and considered the Notice, Application

   and the Affidavit of Disinterestedness and having found good and sufficient cause appearing therefor

   and the same to be in the best interest of Debtor and the creditors the Court hereby FINDS that:

              A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

              B. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C. §§

           1408 and 1409.

              C. Notice of the Application was sufficient under the circumstances.

                  Based upon the foregoing findings of fact, it is hereby

                  ORDERED, ADJUDGED, AND DECREED that:


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Case 15-12570 Doc 79 Filed 04/13/18 Entered 04/13/18 12:55:53 Main Document Page 2 of 3



            1.    The Application is hereby GRANTED.

            2.    Defined terms not otherwise defined herein have the meanings given to them in the

   Application and the Affidavit.

            3.    The Trustee is authorized to retain and compensate BKRES and local licensed Listing

   Agent to provide the necessary professional assistance and representation required by the

   Trustee to fulfill the Trustee’s duties pursuant to 11 U.S.C. § 704 in order to procure Secured

   Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s Chapter 7 case pursuant

   to Sections 327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy Rules 2014 and 2016, in

   accordance with the terms and conditions set forth in the BKRES Agreement, the Listing Agreement

   and this Order. BKRES and Listing Agent shall not split or otherwise share their fees with any other

   person or entity.

            4.    BKRES and Listing Agent are disinterested persons within the meaning of

   Bankruptcy Code Section 101(14).

            5.    BKRES and Listing Agent shall be compensated in accordance with the BKRES

   Agreement and Listing Agreement, respectively, and such compensation shall not hereafter be

   subject to challenge except under the standard of review set forth in Section 330 of the Bankruptcy

   Code.

            6.    BKRES and Listing Agent shall be authorized to receive and retain their fees from

   Secured Creditor at the successful closing of the sale of the Property without necessity of further

   order of the Court. The estate shall, in no circumstance, be obligated to compensate BKRES or

   Listing Agent in such event and BKRES and Listing Agent shall not have a claim against the estate

   for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by, through or under

   either of them, shall only have recourse for recovering its fee to Secured Creditor. The estate shall
Case 15-12570 Doc 79 Filed 04/13/18 Entered 04/13/18 12:55:53 Main Document Page 3 of 3



   have no liability for any such claim.

            7.    Trustee is hereby authorized to engage Brokers BKRES and Listing Agent to provide

   reasonable and necessary property preservation, maintenance, and upkeep services to the subject

   estate Property to facilitate the sale of the Property for the benefit of the Secured Creditor(s) and

   bankruptcy estate, and to reimburse the Brokers in a maximum amount not to exceed $500.00 for

   the approved reasonable, necessary costs and expenses of preserving, or disposing of, the subject

   Property, without the need for further Order.

            8.    Notice of the Application was adequate and proper.

            9.    This Court shall retain jurisdiction to hear and determine all matters arising from or

   related to the implementation of this Order.

            IT IS FURTHER ORDERED that counsel for Mover shall serve this order on the

   required parties who will not receive notice through the ECF system pursuant to the FRBP and the

   LBRs and file a certificate of service to that effect within three (3) days.

                  New Orleans, Louisiana, April 13, 2018.



                                                                  Hon. Elizabeth W. Magner
                                                                  U.S. Bankruptcy Judge




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